      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 1 of 10




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

DESSIE JOHNSON, Individually
and as Personal Representative of
the Estate of ERNEST JOHNSON,

      Plaintiff,                            Case No.:

v.                                          State Case No.: 2020-CA-000635

R.J. REYNOLDS TOBACCO
COMPANY; PHILIP MORRIS USA
INC.; and LIGGETT GROUP LLC,

     Defendants.
___________________________________/

                   NOTICE OF REMOVAL OF CIVIL ACTION
                      AND DEMAND FOR JURY TRIAL

      Defendants Philip Morris USA Inc., R.J. Reynolds Tobacco Company, and

Liggett Group LLC (collectively, “Defendants”), pursuant to 28 U.S.C. §§ 1331,

1441, and 1446, and with full reservation of defenses, hereby remove this action

from the Circuit Court of the Second Judicial Circuit, Gadsden County, Florida, to

the United States District Court for the Northern District of Florida, Tallahassee

Division. Pursuant to 28 U.S.C. § 1446(a), Defendants state the following as

grounds for removal:
         Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 2 of 10




                                 Procedural Background

         1.     On August 25, 2020, Plaintiff Dessie Johnson filed a lawsuit against

Defendants in the Circuit Court of the Second Judicial Circuit, Gadsden County,

Florida, alleging both personal injury claims on her own behalf and wrongful death

claims on behalf of the Estate of Ernest Johnson that purported to arise under Florida

law. The lawsuit is styled as Dessie Johnson, Individually and as Personal

Representative of the Estate of Ernest Johnson v. R.J. Reynolds Tobacco Company;

Philip Morris – USA, Inc.; ITG Brands, LLC; Vector Group LTD.; Liggett Group,

LLC, Case No. 2020-CA-000635AXXXXX.

         2.     Plaintiff served Defendants1 with her initial complaint on October 14,

2020. The initial complaint asserted claims all arising under state law. See generally

Compl. (Oct. 14, 2020) (Ex. A)

         3.     On November 3, 2020, Defendants moved to dismiss Plaintiff’s initial

Complaint. Thereafter, the state court ordered Plaintiff to file an amended complaint

that addresses the issues Defendants raised in their motion to dismiss. On March 29,

2022, Plaintiff filed and served Defendants with an Amended Complaint, which, for

the first time, alleges a claim that arises under federal law. True and correct copies




1
    As of the date of this Notice of Removal, ITG Brands, LLC and Vector Group LTD have not
    been served with initial service of process.

                                             -2-
      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 3 of 10




of all process, pleadings, and orders served upon Defendants are attached as Exhibit

A.

      4.     Pursuant to 28 U.S.C. § 1446(b), a notice of removal of a civil action

shall be filed within thirty (30) days of a defendant’s receipt “of an amended

pleading . . . from which it may be first ascertained that the case is one which is or

has become removable.” 28 U.S.C. § 1446(b)(3).

      5.     The Amended Complaint filed on March 29, 2022, is the first pleading

from which Defendants ascertained that this case has become removable.

      6.     Therefore, the deadline for Defendants to file a Notice of Removal is

April 28, 2022, and this Notice of Removal is timely filed under 28 U.S.C. § 1446(b).

      7.     This lawsuit may be removed to this Court pursuant to 28 U.S.C.

§§ 1441(a) and (c), and is not subject to the one-year limit in § 1446(c)(3)(1),

because this Court has original jurisdiction over this case pursuant to 28 U.S.C.

§ 1331, in that the matter arises under the laws of the United States.

                          Federal Question Jurisdiction

      8.     This action is removable pursuant to 28 U.S.C. § 1441(a) because it is

within the original jurisdiction of this Court under 28 U.S.C. § 1331, in that it is a

civil action involving a claim arising under the laws of the United States.

      9.     Plaintiff’s action involves a federal question under 28 U.S.C. § 1331

because Count I of her Amended Complaint asserts a claim against Defendants for



                                         -3-
      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 4 of 10




violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

U.S.C. §§ 1961-1968, et seq. See Am. Compl. ¶¶ 138-87 (Ex. A). A claim may be

brought in federal court if the claim is one “arising under the Constitution, laws, or

treaties of the United States.” 28 U.S.C. § 1331. When determining whether a claim

arises under federal law, the Court is to “examine the ‘well pleaded’ allegations of

the complaint and ignore the potential defenses.” Beneficial Nat’l Bank v. Anderson,

539 U.S. 1, 6 (2003). A suit arises under the Constitution and laws of the United

States if “the plaintiff’s statement of his own cause of action shows that it is based

upon those laws or that Constitution.” Id. Here, on the face of the Amended

Complaint, this action arises under a law of the United States. See, e.g., Kidwill v.

Charlotte Cnty. School Board, No. 2:07-cv-13-Ftm-34SPC, 2007 WL 9718742, *3

(M.D. Fla. Aug. 24, 2007) (denying motion to remand where federal RICO claim

was presented on the face of the complaint). Therefore, removal is proper and

appropriate under 28 U.S.C § 1331.

      10.    Plaintiff’s Amended Complaint also alleges additional counts arising

under Florida law against Defendants, including negligence (Count II), Strict

Liability (Count III), and Negligent Misrepresentation (Concealment) (Count IV).

These claims relate to the same alleged conduct and are so related to the federal

claim in this action that they form part of the same case or controversy. 28 U.S.C.

§ 1367(a). Plaintiff’s state law claims do not predominate over her federal claims,



                                         -4-
         Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 5 of 10




and there are no compelling reasons for the Court to decline supplemental

jurisdiction. Pursuant to 28 U.S.C. §§ 1367 and 1441(c), this Court has supplemental

jurisdiction over Plaintiff’s state law claims, and removal of the entire action,

including the causes of action alleged under state common law, is appropriate.

                                    Procedure and Venue

         11.     No previous application has been made for the relief requested herein.

         12.     Under 28 U.S.C. § 1446(b)(2)(A), “all defendants who have been

properly joined and served must join in or consent to the removal of this action.”

This Notice of Removal is filed jointly by Defendants Philip Morris USA Inc., R.J.

Reynolds Tobacco Company, and Liggett Group LLC, all of whom consent to

removal in this case.

         13.     Plaintiff has also named Defendant ITG Brands, LLC (“ITG Brands”)

and Vector Group LTD (“Vector”), as a defendants in both the initial Complaint and

the Amended Complaint. However, no Summonses have been issued by the Clerk

of Court, Gadsden County, Florida, for service on ITG Brands or Vector, nor have

ITG Brands and Vector been properly served in this case. Because ITG Brands and

Vector have not been “properly joined and served” by Plaintiff pursuant to 28 U.S.C.

§ 1446(b)(2)(A), their joinder or consent in this Notice of Removal is not required.2


2
    See Johnson v. Wellborn, 418 F. App’x 809, 815 (11th Cir. 2011) (“The requirement that there
    be unanimity of consent in removal cases with multiple defendants does not require consent of
    defendants who have not been properly served.”); see also Estate of Harris v. Standard Guar.

                                                -5-
      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 6 of 10




      14.    The United States District Court of the Northern District of Florida is

the proper venue in which to file this Notice of Removal under 28 U.S.C. §1446(a)

because it is the federal district court that embraces the Circuit Court of the Second

Judicial Circuit, in and for Gadsden County, Florida, the place where this action was

originally filed. See 28 U.S.C. § 89(a); see also Local Rule 3.1(A)(3).

      15.    Pursuant to 28 U.S.C. § 1446(a) and Local Rule 7.2, true and correct

copies of all process, pleadings, and orders served upon Defendants in the State

Court Action are attached hereto as Exhibit A.

      16.    Pursuant to 28 U.S.C. § 1446(d), written notice of removal of this case

is being served on all parties, and a Notice of Filing of this Notice of Removal will

be filed promptly in the Circuit Court of the Second Judicial Circuit, in and for

Gadsden County, Florida.

      17.    By removing this action from state court, Defendants do not admit any

of the allegations in Plaintiff’s Amended Complaint.

      18.    This Notice of Removal is solely for the procedural purpose of

removing this case to federal court, and Defendants expressly reserve and preserve




 Ins., 2:20-CV-00335-AMM, 2020 WL 8174635, at *2 (N.D. Ala. July 15, 2020) (“the removal
 statute requires consent only from properly served defendants.”); Gardner v. TBO Capital LLC,
 986 F. Supp. 2d 1324, 1331 (N.D. Ga. 2013) (denying remand because the removal statute does
 not require the consent of parties not properly served).

                                            -6-
      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 7 of 10




any and all legal defenses and bases for dismissal available under Florida and federal

law in subsequent proceedings.

      19.     Defendants reserve the right to amend or supplement this Notice of

Removal.

      20.     Defendants request a trial by jury on all issues so triable.

      21.     If any question arises as to the propriety of this removal, Defendants

respectfully request the opportunity to present written and oral argument in support

of removal.

                                      Conclusion

      WHEREFORE, Defendants Philip Morris USA Inc., R.J. Reynolds Tobacco

Company, and Liggett Group LLC hereby give notice of removal of the matter styled

as Dessie Johnson, Individually and as Personal Representative of the Estate of

Ernest Johnson v. R.J. Reynolds Tobacco Company, et al., No. 2020-CA-

000365AXXXXX (Fla. 2d Cir. Ct.) to the United States District Court for the

Northern District of Florida.

Dated: April 7, 2022                             Respectfully submitted,

                                                 /s/ Ashley P. Hayes
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                                           -7-
Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 8 of 10




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                                    Counsel for Philip Morris USA Inc.
                                    (and filing on behalf of R.J. Reynolds
                                    Tobacco Company and Liggett Group
                                    LLC for this filing only)




                              -8-
      Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 9 of 10




                         CERTIFICATE OF SERVICE

      I CERTIFY that a true and correct copy of the foregoing has been furnished

by Electronic Service through the CM/ECF E-Filing Portal to all counsel of record

registered to receive such service and by Electronic Mail to all counsel on the

attached Service List on this 7th day of April, 2022.



                                               /s/ Ashley P. Hayes
                                               Counsel for Philip Morris USA Inc.




                                         -9-
    Case 4:22-cv-00144-RH-MAF Document 1 Filed 04/07/22 Page 10 of 10




                            SERVICE LIST
              Dessie Johnson v. Philip Morris USA, Inc., et al.

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